






NO. 07-01-0285-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JANUARY 4, 2002



______________________________




IN THE INTEREST OF DEVIN RAY PARSON



AND TEVIN WAYNE PARSON, CHILDREN



_________________________________



FROM THE 69TH DISTRICT COURT OF DALLAM COUNTY;



NO. 9593; HONORABLE RON ENNS, JUDGE



_______________________________



ON JOINT MOTION TO REMAND AND STAY APPEAL




Before BOYD, C.J., and REAVIS and JOHNSON, JJ.


	Appellant Sharon Parson, natural mother of minor children Devin Ray Parson and
Tevin Wayne Parson, presents this appeal from the April 27, 2001 judgment following a
jury trial terminating her parental rights to her two minor children.  Appellant filed her brief
on November 21, 2001.  Then, on December 20, 2001, appellant and The Texas
Department of Protective and Regulatory Services filed a Joint Motion (1) to Remand to Trial
Court and Stay Appeal Pending Trial Court Hearing and Ruling on Appellant's Motion for
New Trial. (2)  Movants cite Hensley v. Salinas, 583 S.W.2d 617 (Tex. 1979), as support for
their motion that we abate the appeal and remand the cause to the trial court for a hearing
and ruling on appellant's motion for new trial.  Hensley is not controlling because that 
appeal challenged  an alleged agreed judgment, the Supreme Court reversed the decision
of the Court of Civil Appeals and remanded the case to the trial court with instructions to
conduct a hearing on the motion for new trial pursuant to former Rule 483 of the Texas
Rules of Civil Procedure, (3) and the case was remanded to the trial court without abatement
of the appeal.      

	Concluding that the motion in its present form must be overruled, it is so ordered. 
However, recognizing the potential problems presented by the current rules and the
difficulty encountered by the parties desiring to settle their dispute during the pendency
of an appeal, we overrule the motion without prejudice to the presentation of another
motion taking into consideration the matters discussed in Dunn v. Canadian Oil &amp; Gas
Services, Inc., 908 S.W.2d 323, 324 (Tex.App.--El Paso1995, no writ).  In the absence of
the submission of a new motion approved by counsel for all interested parties, the brief of
the Texas Department of Protective and Regulatory Services shall be filed by February 1,
2002.

	It is so ORDERED.  

							Per Curiam

Publish.




1. Motion not approved by counsel for the minor children or by Alfred Vigil, Jr. or
Dennis Love, whose rights were also terminated by the order.
2. The Texas Department of Protective and Regulatory Services does not concede
or acknowledge error.
3. Rule 483 was repealed effective September 1, 1986.  


prises, appellant, appealed a judgment of the
181st District Court of Randall County in favor of Transit Mix Concrete &amp; Materials
Company, appellee.  On December 19, 2008, appellant and appellee, through their
counsel, filed a joint motion to abate the appeal and permit proceedings in the trial court
to effectuate a settlement agreement.  See Tex. R. App. P. 42.1(a)(2)(C) (authorizing
same).  The parties have reached an agreement to settle and compromise their differences
and disputes, not only on the issues which are the subject of this appeal, but also in
collateral proceedings.  We abated the cause to the trial court so that the settlement can
be effectuated, and the clerk’s record now on file shows that to have occurred.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, we reinstate the appeal and dismiss it as settled.  Having dismissed the
appeal as a result of the settlement, no motion for rehearing will be entertained, and our
mandate will issue forthwith.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is so ordered.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per Curiam


